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Attorneys for The Montana Green Party


            IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MONTANA
                           HELENA DIVISION

 JAMES LARSON, DONALD                   Case No.
 JUDGE and JEAN PRICE,
 individual electors, and
 MONTANA DEMOCRATIC
 PARTY

            Plaintiffs,

      v.
                                             NOTICE OF REMOVAL
 STATE OF MONTANA, by and
 through its SECRETARY OF
 STATE, COREY STAPLETON

            Defendant.

      and

 THE MONTANA GREEN
 PARTY,

            Interested Party.
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      TO: James Larson, Donald Judge, and Jean Price, individual

electors, and Montana Democratic Party, Plaintiffs, c/o Peter Michael

Meloy, MELOY LAW FIRM, P.O. Box 1241, Helena, MT 59624, and               Kevin

J. Hamilton PERKINS COIE LLP, 1201 Third Ave., No. 4900, Seattle, WA

98101, Plaintiffs’ Attorneys; Defendant State of Montana, c/o Emily Jones,

JONES LAW FIRM, PLLC, P.O. Box 81274, Billings, MT 59108-1274; and

Lewis and Clark Clerk of District Court.

      Party in interest, the Montana Green Party (MTGP), respectfully gives

notice and shows the Court:

      1.      On April 2, 2018, an action was commenced against Defendant

State of Montana in the Montana First Judicial District, Lewis & Clark

County, entitled James Larson, Donald Judge, and Jean Price, individual

electors, and Montana Democratic Party, Plaintiffs v. State of Montana,

by and through its Secretary of State, Corey Stapleton, and The Montana

Green Party, Interested Party, Cause No. CDV 2018-295. On April 19,

2018, Plaintiffs filed their First Amended Complaint.

      2.      The above-described action is one in which the Court has

original jurisdiction under the provisions of 28 U.S.C. § 1331, and is one




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which may be removed to the United States District Court, District of

Montana, by the Interested Party MTGP herein, pursuant to the provisions

of 28 U.S.C. § 1441, in that it is an action involving issues of law arising

under the U.S. Constitution.

      3.      The U.S. Constitutional issues include, without limitation, (a)

whether the burdens on fundamental U.S. Constitutional rights imposed by

MONT. CODE ANN. § 13-10-601 properly “conditions ballot access in both

primary and general elections ‘on a showing of a modicum of voter

support’” (First Amended Complaint, ¶ 1 (quoting Munro v. Socialist

Workers Party, 479 U.S. 189, 196 (1986)); and (b) whether barring MTGP

from participation in the 2018 Montana primary and general elections

satisfies Constitutional muster by properly promoting the important state

interest of preventing “‘frivolous candidates clogging the ballot and

confusing voters.’” (First Amended Complaint, ¶ 7 (quoting Swanson v.

Worley, 490 F.3d 894, 911 (11th Cir. 2007).)

      4.      Defendant State of Montana, by and through its Secretary of

State, Corey Stapleton, consents to removal.

      5.      Accordingly, MTGP requests that the subject action, James

Larson, Donald Judge, and Jean Price, individual electors, and Montana


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Democratic Party, Plaintiffs v. State of Montana, by and through its

Secretary of State, Corey Stapleton, and The Montana Green Party,

Interested Party, Cause No. CDV 2018-295, now pending in the Montana

First Judicial District Court, Lewis & Clerk County, be removed therefrom

to the U.S. District Court, District of Montana.

      DATED this 27th day of April, 2018.


                              Respectfully Submitted,
                              RHOADES SIEFERT & ERICKSON PLLC




                              By: _/s/Quentin M. Rhoades
                                   Quentin M. Rhoades
                                   Attorneys for The Montana Green
                                   Party




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                      CERTIFICATE OF SERVICE

     I hereby certify that on the 27th day of April 2018, I served upon the

following a true and correct copy of the foregoing by depositing said copy in

the U.S. mail, postage prepaid, and addressed as follows:

     Steve Kelly
     4750 Jordan Spur Road
     Bozeman, MT 59715

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     Seattle, WA 98101

     Clerk of District Court
     228 Broadway, Room 104
     Helena, MT 59601



                             By: _/s/Quentin M. Rhoades
                             Quentin M. Rhoades




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